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 1 COSCA LAW CORPORATION
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 4 Attorney for Defendant
   WAYNE A. YORK II
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 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           2:16-CR-0092 JAM
11                                   Plaintiff,          STIPULATION AND ORDER TO
                                                         EXCLUDE TIME AND CONTINUE
12   v.                                                  STATUS CONFERENCE
13   MARCO ANTONIO RAMIREZ ZUNO, et al.,                 Date: May 21, 2019
                                                         Time: 9:15 a.m.
14                                   Defendants.         Judge: Hon. John A. Mendez
15

16

17                                                 STIPULATION
18          The parties hereto, by and through their counsel of record, hereby stipulate as follows:
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            1.     By previous order, the court set this matter for a status conference on May 21, 2019.
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            2.     By this stipulation, defendants now move to vacate this date and reset the status
21
     conference for July 23, 2019.
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23          3.     The parties further stipulate to exclude time between May 21, 2019 and July 23, 2019

24 under Local Code T4.

25          3.     The parties agree and stipulate, and request that the Court find the following:
26          a.     On November 13, 2019, Chris Cosca was appointed to represent defendant Wayne
27
     York II. Chris Cosca has a personal family matter to attend on May 21, 2019.
28
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            b.       Discovery in this case is voluminous. It spans multiple devices and consists of
 1
     several years of emails and related documents. Counsel for defendants require additional time to
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 3 analyze the discovery, review case materials with their clients, conduct appropriate investigation,

 4 perform necessary legal research, clarify client options, and to prepare for trial if necessary.

 5          c.       Counsel for defendants believe that failure to grant this request would deny them the
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     reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence.
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            d.       The Government does not object to the continuance.
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10          e.       Based on the above-stated findings, the ends of justice served by continuing the case

11 as requested outweigh the interests of the public and the defendant in a speedy trial as prescribed by

12 the Speedy Trial Act.

13          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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     seq., within which trial must commence, the time period February 25, 2019 to April 22, 2019,
15
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A) and B(ii) and (iv),
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     corresponding to Local Code T4, because it results from a continuance granted by the Court at
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18 defendant’s request on the basis of the Court's finding that the ends of justice served by taking such

19 action outweigh the best interest of the public and the defendants in a speedy trial.

20          5.       Nothing in this stipulation and order shall preclude a finding that other provisions of
21
     the Speedy Trial Act dictate that additional time periods are excludable from the period within which
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     a trial must commence.
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     IT IS SO STIPULATED.
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 3
     DATED:       April 29, 2019       /s/ Matthew G. Morris
 4                                     MATTHEW G. MORRIS
                                       Assistant United States Attorney
 5

 6 DATED:         April 29, 2019       /s/ Timothy Zindel      _____________
                                       TIMOTHY ZINDEL
 7                                     Counsel for Defendant JUAN CARLOS MONTALBO

 8
     DATED:       April 29, 2019       /s/ Chris Cosca _______________________
 9                                     CHRIS COSCA
                                       Counsel for Defendant WAYNE A. YORK II
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16                                               ORDER

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     IT IS SO FOUND AND ORDERED this 30th day of April, 2019.
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19                                      /s/ John A. Mendez______________
                                        HON. JOHN A. MENDEZ
20                                      United States District Court Judge

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